            Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 1 of 7




               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

JUSTINE DAILY,                            )
                                          )
      Plaintiff,                          )
                                          )
vs                                        )       Case No.     5:14-cv-00550-HE
                                          )
USAA CASUALTY INSURANCE                   )
COMPANY,                                  )
                                          )
      Defendant.                          )

                               AMENDED COMPLAINT

      COME NOW the Plaintiff, Justine Daily (hereinafter “Plaintiff”), for her claims

against Defendants, USAA Casualty Insurance Company (hereinafter “USAA”), states as

follows:

      1.       Plaintiff is a resident of Cleveland County, Oklahoma.

      2.       Defendant USAA is a corporation incorporated under the laws of the State

of Texas.

      3.       Plaintiff entered into a contract of insurance with Defendant USAA to

provide coverage for her residence, household contents, and personal property.

Plaintiff’s insured property is located in Cleveland County, Oklahoma.

      4.       Thereafter, Defendant USAA issued the Homeowners Policy of insurance

(Policy No. 020530046/90A) to the Plaintiff.

      5.       USAA represented to the Plaintiff, directly and through its agents that it

would conduct itself in accordance with Oklahoma law and would fully and fairly



                                              1
            Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 2 of 7




investigate and pay claims. Plaintiff relied on said representations.

       6.      On or about the 20th day of May, 2013, Plaintiff’s property, which was

insured by the subject homeowner’s policy of insurance, was heavily damaged as the

direct result of a catastrophic tornado.

       7.      Consequently, Plaintiff properly and timely submitted a claim to Defendant

USAA for the property damage resulting from the May 20, 2013, tornado.

       8.      Defendant USAA confirmed Plaintiff’s property had in fact sustained direct

physical damage as a result of catastrophic tornado which occurred on or about the 20th

day of May, 2013, and that said loss was covered under the terms and conditions of

Plaintiff’s homeowners policy with USAA.

       9.      Subsequently, Defendant USAA paid portions of Plaintiff’s claim based on

its purported investigation and estimate.

                               FIRST CAUSE OF ACTION
                               BREACH OF CONTRACT

       10.     Plaintiff entered into a contract of insurance with Defendant USAA to

provide coverage for her dwelling and personal property. The Homeowners Policy with

Defendant USAA was in full force and effect at all material times hereto.

       11.     Plaintiff provided proper and timely notice to Defendant USAA of her

claims arising from the catastrophic tornado of May 20, 2013.

       12.     Plaintiff has in all material ways, complied with the terms and conditions of

the policy.



                                             2
            Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 3 of 7




       13.     Defendant USAA, however, has breached its contractual obligations under

the terms and conditions of the insurance contract with Plaintiff by failing to pay Plaintiff

all benefits to which she is entitled under the terms and conditions of the policy.

       14.     As a result of Defendant USAA’s breach of contract and other wrongful

conduct, Plaintiff has sustained financial losses, mental and emotional distress and have

been damaged in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

exclusive of attorneys’ fees, costs and interest.

                                 SECOND CAUSE OF ACTION
                                       BAD FAITH

       Plaintiff adopts and re-plead paragraphs 1 through 14 above, and for her claim

against Defendant USAA further allege as follows:

       15.     Defendant USAA owed a duty to Plaintiff to deal fairly and in good faith.

       16.     Defendant USAA breached its duty to deal fairly and in good faith by

engaging in the following acts and omissions:

       a.      failing to pay the full and fair amount for the property damage sustained by

Plaintiff from the May 20, 2013, tornado in accordance with the terms and conditions of

her insurance policy;

       b.      failing to pay all additional coverages due and owing to Plaintiff under the

terms and conditions of her homeowners policy of insurance, thereby unfairly and

without valid basis, reducing the fair amount of Plaintiff’s claim;

       c.      purposefully, wrongfully and repeatedly withholding pertinent benefits,




                                              3
            Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 4 of 7




coverages and other provisions due Plaintiff under the terms and conditions of her

insurance policy in violation of the Unfair Claims Settlement Practices Act, 36 O.S.

§§1250.1-1250.16;

       d.      purposefully, wrongfully and repeatedly failing to communicate all

coverages and benefits applicable to Plaintiff’s claim;

       e.      forcing Plaintiff to retain counsel to recover insurance benefits to which she

was entitled under the terms and conditions of the insurance contract;

       f.      failing to conduct a fair and objective investigation of the damage to

Plaintiff’s home; and,

       g.      intentionally engaging in outcome-oriented investigation.

       17.     Defendant USAA’s obligations arise from both the express written terms of

the policy and the Oklahoma Insurance Code. USAA’s failure to implement and/or

follow Oklahoma’s statutory Insurance Code constitutes bad faith.

       18.     The conduct of Defendant USAA, as described above, constitutes bad faith

and is a material breach of the terms and conditions of the insurance contract between the

parties.

       19.     As a direct result of Defendant USAA’s bad faith, Plaintiff’s claim was

unnecessarily delayed, inadequately investigated, and wrongly underpaid. Said actions

resulted in additional profits and financial windfall for Defendant USAA.

       20.     As a result of Defendant USAA’s conduct, Plaintiff has sustained financial

losses, mental and emotional distress and has been damaged in an amount in excess of



                                              4
            Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 5 of 7




Seventy-Five Thousand Dollars ($75,000.00), exclusive of attorneys’ fees, costs and

interest.

       21.     Defendant USAA’s conduct was intentional, willful, malicious and in

reckless disregard of the rights of Plaintiff, and is sufficiently egregious in nature so as to

warrant the imposition of punitive damages.

       22.     Plaintiff further alleges Defendant USAA enjoyed increased financial

benefits and ill-gotten gains as a direct result of the wrongful conduct described above

herein, which resulted in the injury to Plaintiff.

                                 PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff prays for judgment in her favor

and against Defendants, USAA Casualty Insurance Company for:

       a)      Payment for all contractual benefits for all coverages afforded to Plaintiff

under the subject homeowners policy of insurance for damage to her property caused by

the May 20, 2013, tornado, with interest on all amounts due;

       b)      Compensatory damages for intentional infliction of emotional distress and

mental pain and suffering;

       c)      Disgorgement of the increased financial benefits derived by any and/or all

of the Defendants as a direct result of the Defendants’ wrongful conduct;

       d)      Actual and punitive damages each in an amount in excess of $75,000.00;

and,

       e)      Prejudgment interests, costs and attorneys’ fees.



                                               5
      Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 6 of 7




                                       Respectfully submitted,




                                       /s/ Carole Dulisse
                                       JEFF D. MARR, OBA No. 16080
                                       CAROLE DULISSE, OBA No. 18047
                                       MARR LAW FIRM
                                       4301 Southwest Third Street
                                       Suite 110
                                       Oklahoma City, Oklahoma 73108
                                       Telephone: (405) 236-8000
                                       Facsimile: (405) 236-8025
                                       Email: jeffdmarr@marrlawfirm.com
                                              cdulisse@marrlawfirm.com
                                       Attorneys for Plaintiff


ATTORNEYS’ LIEN CLAIMED
JURY TRIAL DEMANDED




                                   6
         Case 5:14-cv-00550-HE Document 14 Filed 07/31/14 Page 7 of 7




                          CERTIFICATE OF SERVICE

      On the 31st day of July, 2014, this was served in compliance with Rule 5 of the
Federal Rules of Civil Procedure to the following counsel of record:

      Jodi W. Dishman
      Andrew J. Morris
      William Leach
      McAfee & Taft A Professional Corporation
      211 North Robinson, 10th Floor
      Oklahoma City, OK 73102
      Telephone: (405) 235-9621
      Facsimile: (405) 235-0439
      Email: Jodi.dishman@mcafeetaft.com
            Andrew.morris@mcafeetaft.com
            Bill.leach@mcafeetaft.com
      Attorneys for Defendant


                                       /s/ Carole Dulisse
                                       CAROLE DULISSE




                                         7
